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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA             :
                                     :     CRIMINAL ACTION NO.
            v.                       :
                                     :     1:12-CR-323-WSD-ECS
EDWARD K. KIM                        :

     CONFIRMATION OF DEFENDANT’S ELECTION NOT TO APPEAL

      Defendant, EDWARD K. KIM, by and through undersigned counsel, hereby

notifies this Court that he will not appeal the criminal sentence imposed by this

Court on February 20, 2013.

      Dated: This the 25th day of February, 2013.

                                     Respectfully submitted,

                                     /s/ W. Matthew Dodge
                                     W. Matthew Dodge
                                     Attorney for Mr. Kim
                                     Georgia State Bar No. 224371

                                     Federal Defender Program, Inc.
                                     101 Marietta Street, N.W., Suite 1500
                                     Atlanta, Georgia 30303
                                     (404) 688-7530 Fax (404) 688-0768
                                     Matthew_Dodge@FD.org
     Case 1:12-cr-00323-WSD-CMS Document 28 Filed 02/25/13 Page 2 of 2



                            CERTIFICATE OF SERVICE

      I hereby certify that the foregoing motion was formatted in Book Antiqua 13

pt., in accordance with Local Rule 5.1C, and was electronically filed this day with the

Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to Joseph Plummer, Assistant United States Attorney, 600

Richard B. Russell Building, 75 Spring Street, S.W., Atlanta, Georgia, 30303.

      Dated: This the 25th day of February, 2013.


                                        /s/ W. Matthew Dodge
                                        W. Matthew Dodge




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